 

UNITED STATES DISTRICT COURT

U.S. DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN EASTERN

DISTRICT - WI
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UNITED STATES OF AMERICA, ID JAN 22 Pie 2

 

Plaintiff, Case No. 20-CR
[8 U.S.C. § 1326(a)]
Vv.

JUAN MANUEL ESPINOZA-PENA,

Defendant.

 

INDICTMENT

 

COUNT ONE
THE GRAND JURY CHARGES THAT:
1. On or about December 19, 2019, in the State and Eastern District of Wisconsin,
JUAN MANUEL ESPINOZA-PENA,

an alien who had previously been deported and removed from the United States, was found in
the United States, in Milwaukee County, Wisconsin, without having obtained the express
consent of the Attorney General of the United States, or his successor, the Secretary of the
Department of Homeland Security, for application for re-admission into the United States.

2. The defendant previously was ordered removed from the United States on or

about April 30, 2014, and was physically removed to Mexico on or about July 5, 2019.

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All in violation of Title 8, United States Code, Section 1326(a).

  

Dated: January ZZ, ZOZ20O

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MATTHEWD. KRUEGER
United States Attorney

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